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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:                                                       Chapter 7

Cardiac Management Systems, Inc., et al.,                    Case No. 08-19029-BKC-LMI

                        Debtors.                             Substantively Consolidated
_______________________________________/

              EX PARTE MOTION TO SCHEDULE STATUS CONFERERENCE

         Chapter 7 Trustee Kenneth A. Welt (the “Trustee”), by and through undersigned counsel,

moves (the “Motion”) to schedule a status conference. In support of the Motion, the Trustee states:

         1.     On June 30, 2008, the Debtor filed a voluntary petition for relief under Chapter 11

of the Bankruptcy Code.

         2.     On November 13, 2008, the Chapter 11 cases were converted to Chapter 7, and

the Trustee was appointed shortly after the conversion.

         3.     On June 15, 2010, the Court entered its order consolidating all Debtor estates into

the above-captioned case.

         4.     As of the filing of this Motion, the Trustee completed the administration of assets

of the consolidated case, prepared a draft final report a copy of which is attached hereto as

Exhibit “A,” and proposes to set for hearing all pending final fee applications on the date of the

status conference.

         5.     The Trustee believes it is appropriate and necessary to advise the Court of the

status of the case and to answer any questions the Court may have about the closing of the case.

         WHEREAS, the Trustee respectfully requests entry of an order (a) granting the Motion;
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(b) scheduling a status conference; and (c) granting such further relief as this Court deems

appropriate.

Dated: June 30, 2020                         Markowitz Ringel Trusty & Hartog, P.A.
                                             101 NE Third Avenue, Suite 1210
                                             Fort Lauderdale, Florida 33301
                                             T: (954) 767-0030
                                             F: (954) 767-0035

                                             By:/s/ Ross R. Harog
                                                ROSS R. HARTOG
                                                Fla. Bar No.: 272360
                                                rhartog@mrthlaw.com
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                       EXHIBIT A
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                             UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION


 In re:                      §                           Case No.08-19029-LMI
                             §
 CARDIAC MANAGEMENT SYSTEMS, §
 INC                                              §



                                  Debtor

                          NOTICE OF TRUSTEE'S FINAL REPORT AND
                                 APPLICATION FOR COMPENSATION
                                 AND DEADLINE TO OBJECT(NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Kenneth
A. Welt, trustee of the above styled estate, has filed a Final Report and the trustee and the
trustee's professionals have filed final fee applications, which are summarized in the attached
Summary of Trustee's Final Report and Applications for Compensation.

       The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

                  299 E. Broward Blvd., Ste. 112, Fort Lauderdale, FL 33301

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
together with a request for a hearing and serve a copy of both upon the trustee, any party whose
application is being challenged and the United States Trustee. If no objections are filed, the
Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
without further order of the Court.


Date Mailed:                                          By: /s/ Kenneth A. Welt
                                                           Trustee
Kenneth A. Welt
4581 Weston Road #355
Weston,FL 33331




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